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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ANN C. McCLINTOCK, #141313
     Assistant Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                   ) Case Nos. 2:14-cr-0245 KJM
                                                 )           2:16-cv-1092 KJM
10                  Respondent-Plaintiff,        )
                                                 ) ORDER
11         v.                                    )
                                                 )
12   PEDRO LOPEZ SANCHEZ,                        )
                                                 )
13                  Movant-Defendant.            )
                                                 )
14
15          Movant PEDRO LOPEZ SANCHEZ, an indigent federal prisoner proceeding pro se, has
16   filed a motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) [Dkt no. 95] and a
17   motion vacate, set aside or correct his sentence pursuant to 28 U.S.C. 2255 [Dkt no. 99].
18          In the section 2255 motion, Mr. Lopez contends his trial counsel rendered
19   constitutionally ineffective assistance and that his communications with his counsel very
20   difficult. Dkt no. 99, page 5 of 7.
21          In the section 3582(c)(2), Mr. Lopez seeks a “two-point deduction” in his offense level
22   and a corresponding reduction in his sentence based on the retroactive change in United States
23   Sentencing Commission’s drug tables. Dkt no. 95. Mr. Lopez was sentenced in 2016, after the
24   changes he seeks to invoke went into effect. See Dkt nos. 87, 90.
25          On August 16, 2016, this Court referred both of these motions to the Federal Defender.
26   Dkt no. 100.    The Court requested the Federal Defender to advise the Court within 21 days if
27   she will represent Mr. Lopez on the pending motions. Id.
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1           Unfortunately, the minute order was not received by the appropriate staff within the
2    Federal Defender’s Office until September 12, 2016. Therefore, the Federal Defender requests a
3    new deadline of October 11, 2016, by which to advise the Court regarding representation for Mr.
4    Lopez regarding these two motions.
5    Dated: September 13, 2016                     Respectfully submitted,
6                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
7
                                                   /s/ Ann C. McClintock
8                                                  ANN C. McCLINTOCK
                                                   Assistant Federal Defender
9
10
                                               ORDER
11
            For good cause shown, IT IS HEREBY ORDERED that:
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            The Federal Defender has until October 11, 2016, by which to advise the Court regarding
13
14   representation of Mr. Lopez regarding his motion to reduce his sentence (Dkt no. 95) and his

15   motion to vacate his judgment (Dkt no. 99).
16   DATED: September 22, 2016.
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19                                                 UNITED STATES DISTRICT JUDGE

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